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                                   GILMORE & MONAHAN, P.A.
                                   Ten Allen Street
                                   P.O. Box 1540
                                   Toms River, NJ 08754
                                   (732) 240-6000
                                   Attorneys for Defendants, Richard Tompkins, Michael Carbone, Louis DiGulio, Anges
                                   Polhemus, Harry Smith, Victoria Graichen, Kenneth Roberts, Charles Lasky, and Sergeant
                                   Luigi Violante

                                                             UNITED STATES DISTRICT COURT
                                                                DISTRICT OF NEW JERSEY



                                   JOHN P. SADDY                               :
                                                                                     Civil Action No. 3:18-cv-16137
                                                      Plaintiff,               :

                                   v.                                          :     ANSWER TO COMPLAINT,
                                                                                     SEPARATE DEFENSES, AND
                                   BOROUGH OF SEASIDE HEIGHTS,                 :     COUNTERCLAIM
                                   CHRISTOPHER VAZ, Seaside Heights Borough
                                   Administrator; ANTHONY E. VAZ,              :
                                   Seaside Heights Mayor; RICHARD TOMPKINS,
                                   MICHAEL CARBONE; LOUIS DIGULIO;             :
                                   AGNES PLOLHEMUS; HARRY SMITH;
                                   VICTORIA GRAICHEN, Seaside Heights          :
                                   Council Members; KENNETH ROBERTS,
                                   Zoning Officer; CHARLES LASKY,              :
                                   Building Inspector; THOMAS BOYD, Chief
                                   Of Police; SERGEANT LUIGI VIOLANTE,         :
                                   A Seaside Heights Police Officer; JOHN DOES
                                   1-10, Seaside Heights Police Officers; and  :
                                   JOHN DOES 11-20, Seaside Heights Council
                                   Members; Municipal Employees; Officials;    :
                                   And/or Appointees,
                                                                               :
                                                        Defendants.
                                                                               :

                                               Defendants, Richard Tompkins, Michael Carbone, Louis DiGulio, Anges
GILMORE & MONAHAN
  A Professional Corporation
 COUNSELLORS AT LAW
Allen Street Professional Center
        Ten Allen Street
                                   Polhemus, Harry Smith, Victoria Graichen, Kenneth Roberts, Charles Lasky, and Sergeant
         P.O. Box 1540
Toms River, New Jersey 08754
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                                   Luigi Violante, having the business address of 33 Washington Street, Toms River, New Jersey,

                                   08754, by way of Answer to the Complaint, say:

                                                                              JURISDICTION

                                               1. Denied.

                                                                                 PARTIES

                                               2.     Defendants are without sufficient information to form an answer to the allegations

                                   in paragraph 2 and leaves plaintiff to their proofs.

                                               3.     Denied except to admit that Luigi Violante served as a Seaside Heights Police

                                   Officer.

                                               4.     Denied except to admit that said defendant served as Mayor of the Borough of

                                   Seaside Heights.

                                               5.     Denied except to admit that Thomas Boyd served as Chief of Police.

                                               6.     Denied except to admit that Christopher Vaz served as Borough Administrator.

                                               7.     Denied except to admit that the named defendants were members of the governing

                                   body of Seaside Heights.

                                               8.     Denied except to admit that Kenneth Roberts served as the Zoning Officer for the

                                   Borough of Seaside Heights.

                                               9.     Denied except to admit that Charles Lasky served as the Building Inspector for the

                                   Borough of Seaside Heights.

                                               10. Denied except to admit that the Borough of Seaside Heights is a Municipal

                                   Corporation of the State of New Jersey.
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        Ten Allen Street
                                                                       FACTUAL ALLEGATIONS
         P.O. Box 1540
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                                               11. The allegations in paragraphs 11 through 14 are denied.




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                                                12. Defendants are without sufficient information of belief to form an answer to the

                                   allegations of paragraph 15 and leaves plaintiff to his proofs.

                                                13. The allegations in paragraphs 16 through 20 are denied.

                                   B. DEFENDANTS’ HISTORY AND PATTERN OF POWER ABUSE BY POLICE AND
                                   BOROUGH OFFICIALS


                                                14. The allegations in paragraphs 21 through 35 are denied.

                                   C. DEFENDANTS’              RACIST AND DISCRIMINATORY POLICIES,                      PRACTICES
                                   AND/OR CUSTOMS


                                                15. The allegations in paragraphs 36 through 44 are denied.

                                                16. These defendants are without sufficient information to form an answer to the

                                   allegations in paragraph 45 and leaves plaintiff to his proofs.

                                                17. The allegations in paragraphs 46 through 47 are denied.

                                   D.    DEFENDANTS’ RETALIATION

                                                18. The allegations in paragraph 48 through 79 are denied.


                                                                         CAUSES OF ACTION
                                                                               COUNT I
                                                                            42 U.S.C. § 1983
                                                                            Monell Liability
                                                                       Borough of Seaside Heights

                                                1.   Defendants repeat their answers to the prior allegations as if the same were more

                                   fully set forth at length herein.

                                                2.   The allegations in paragraphs 81 through 84 are denied.
GILMORE & MONAHAN
  A Professional Corporation
 COUNSELLORS AT LAW
                                                WHEREFORE, Defendants, RICHARD TOMPKINS, MICHAEL CARBONE,
Allen Street Professional Center
        Ten Allen Street
         P.O. Box 1540
Toms River, New Jersey 08754       LOUIS DIGULIO, ANGES POLHEMUS, HARRY SMITH, VICTORIA GRAICHEN,




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                                   KENNETH ROBERTS, CHARLES LASKY, AND SERGEANT LUIGI VIOLANTE, demand

                                   judgment dismissing the Complaint with prejudice, for reasonable attorney's fees, costs of suit, and

                                   for such other relief as the Court deems equitable and just.


                                                                              COUNT II
                                                                           42 U.S.C. § 1983
                                                                       SUPERVISORY LIABILITY

                                                1.   Defendants repeat their answers to the prior allegations as if the same were more

                                   fully set forth at length herein.

                                                2.   These Defendants deny the allegations of paragraphs 86 through 90 and leave

                                   plaintiffs to their proofs. Pertaining to defendants Vaz and Boyd, they will be answered by separate

                                   counsel.

                                                WHEREFORE, Defendants, RICHARD TOMPKINS, MICHAEL CARBONE,

                                   LOUIS DIGULIO, ANGES POLHEMUS, HARRY SMITH, VICTORIA GRAICHEN,

                                   KENNETH ROBERTS, CHARLES LASKY, AND SERGEANT LUIGI VIOLANTE, demand

                                   judgment dismissing the Complaint with prejudice, for reasonable attorney's fees, costs of suit, and

                                   for such other relief as the Court deems equitable and just.

                                                                           COUNT III
                                                                         42 U.S.C. § 1983
                                                                FIRST AMENDMENT – RETALIATION

                                                1.   Defendants repeat their answers to the prior allegations as if the same were more

                                   fully set forth at length herein.

                                                2.   These Defendants deny the allegations of paragraphs 92 through 95 and leave
GILMORE & MONAHAN
  A Professional Corporation
 COUNSELLORS AT LAW
                                   plaintiffs to their proofs. Pertaining to defendants Vaz and Boyd, they will be answered by separate
Allen Street Professional Center
        Ten Allen Street
         P.O. Box 1540
Toms River, New Jersey 08754       counsel.




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                                                WHEREFORE, Defendants, RICHARD TOMPKINS, MICHAEL CARBONE,

                                   LOUIS DIGULIO, ANGES POLHEMUS, HARRY SMITH, VICTORIA GRAICHEN,

                                   KENNETH ROBERTS, CHARLES LASKY, AND SERGEANT LUIGI VIOLANTE, demand

                                   judgment dismissing the Complaint with prejudice, for reasonable attorney's fees, costs of suit, and

                                   for such other relief as the Court deems equitable and just.

                                                                        COUNT IV
                                                                      42 U.S.C. § 1983
                                                            FOURTH AMENDMENT – ILLEGAL SEARCH

                                                1.   Defendants repeat their answers to the prior allegations as if the same were more

                                   fully set forth at length herein.

                                                2.   These Defendants deny the allegations of paragraphs 97 through 99 and leave

                                   plaintiffs to their proofs. Pertaining to defendants Vaz and Boyd, they will be answered by separate

                                   counsel.

                                                WHEREFORE, Defendants, RICHARD TOMPKINS, MICHAEL CARBONE,

                                   LOUIS DIGULIO, ANGES POLHEMUS, HARRY SMITH, VICTORIA GRAICHEN,

                                   KENNETH ROBERTS, CHARLES LASKY, AND SERGEANT LUIGI VIOLANTE, demand

                                   judgment dismissing the Complaint with prejudice, for reasonable attorney's fees, costs of suit, and

                                   for such other relief as the Court deems equitable and just.

                                                                         COUNT V
                                                                      42 U.S.C. § 1983
                                                          FIFTH AMENDMENT – REGULATORY TAKING

                                                1.   Defendants repeat their answers to the prior allegations as if the same were more

                                   fully set forth at length herein.
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                                                2.   These Defendants deny the allegations of paragraphs 101 through 104 and leave

                                   plaintiffs to their proofs. Pertaining to defendants Vaz and Boyd, they will be answered by separate

                                   counsel.

                                                WHEREFORE, Defendants, RICHARD TOMPKINS, MICHAEL CARBONE,

                                   LOUIS DIGULIO, ANGES POLHEMUS, HARRY SMITH, VICTORIA GRAICHEN,

                                   KENNETH ROBERTS, CHARLES LASKY, AND SERGEANT LUIGI VIOLANTE, demand

                                   judgment dismissing the Complaint with prejudice, for reasonable attorney's fees, costs of suit, and

                                   for such other relief as the Court deems equitable and just.

                                                                         COUNT VI
                                                                       42 U.S.C. § 1983
                                                             CONSPIRACY TO VIOLATE CIVIL RIGHTS

                                                1.   Defendants repeat their answers to the prior allegations as if the same were more

                                   fully set forth at length herein.

                                                2.   These Defendants deny the allegations of paragraphs 106 through 110 and leave

                                   plaintiffs to their proofs. Pertaining to defendants Vaz and Boyd, they will be answered by separate

                                   counsel.

                                                WHEREFORE, Defendants, RICHARD TOMPKINS, MICHAEL CARBONE,

                                   LOUIS DIGULIO, ANGES POLHEMUS, HARRY SMITH, VICTORIA GRAICHEN,

                                   KENNETH ROBERTS, CHARLES LASKY, AND SERGEANT LUIGI VIOLANTE, demand

                                   judgment dismissing the Complaint with prejudice, for reasonable attorney's fees, costs of suit, and

                                   for such other relief as the Court deems equitable and just.

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        Ten Allen Street
                                                                        COUNT VII
         P.O. Box 1540
Toms River, New Jersey 08754                                          42 U.S.C. § 1983
                                                       CONSPIRACY TO INTERFERE WITH CIVIL RIGHTS




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                                                1.   Defendants repeat their answers to the prior allegations as if the same were more

                                   fully set forth at length herein.

                                                2.   These Defendants deny the allegations of paragraphs 112 through 115 and leave

                                   plaintiffs to their proofs. Pertaining to defendants Vaz and Boyd, they will be answered by separate

                                   counsel.

                                                WHEREFORE, Defendants, RICHARD TOMPKINS, MICHAEL CARBONE,

                                   LOUIS DIGULIO, ANGES POLHEMUS, HARRY SMITH, VICTORIA GRAICHEN,

                                   KENNETH ROBERTS, CHARLES LASKY, AND SERGEANT LUIGI VIOLANTE, demand

                                   judgment dismissing the Complaint with prejudice, for reasonable attorney's fees, costs of suit, and

                                   for such other relief as the Court deems equitable and just.

                                                                          COUNT VIII
                                                                         42 U.S.C. § 1986
                                                                ACTION FOR NEGLECT TO PREVENT

                                                1.   Defendants repeat their answers to the prior allegations as if the same were more

                                   fully set forth at length herein.

                                                2.   These Defendants deny the allegations of paragraphs 117 through 118 and leave

                                   plaintiffs to their proofs. Pertaining to defendants Vaz and Boyd, they will be answered by separate

                                   counsel.

                                                WHEREFORE, Defendants, RICHARD TOMPKINS, MICHAEL CARBONE,

                                   LOUIS DIGULIO, ANGES POLHEMUS, HARRY SMITH, VICTORIA GRAICHEN,

                                   KENNETH ROBERTS, CHARLES LASKY, AND SERGEANT LUIGI VIOLANTE, demand
GILMORE & MONAHAN
  A Professional Corporation
 COUNSELLORS AT LAW
                                   judgment dismissing the Complaint with prejudice, for reasonable attorney's fees, costs of suit, and
Allen Street Professional Center
        Ten Allen Street
         P.O. Box 1540
Toms River, New Jersey 08754       for such other relief as the Court deems equitable and just.




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                                                                          COUNT IX
                                                             NEW JERSEY STATE CONSTITUTION AND
                                                            NEW JERSEY CIVIL RIGHTS ACT (“NJCRA”)

                                                1.   Defendants repeat their answers to the prior allegations as if the same were more

                                   fully set forth at length herein.

                                                2.   These Defendants deny the allegations of paragraphs 120 through 122 and leave

                                   plaintiffs to their proofs. Pertaining to defendants Vaz and Boyd, they will be answered by separate

                                   counsel.

                                                WHEREFORE, Defendants, RICHARD TOMPKINS, MICHAEL CARBONE,

                                   LOUIS DIGULIO, ANGES POLHEMUS, HARRY SMITH, VICTORIA GRAICHEN,

                                   KENNETH ROBERTS, CHARLES LASKY, AND SERGEANT LUIGI VIOLANTE, demand

                                   judgment dismissing the Complaint with prejudice, for reasonable attorney's fees, costs of suit, and

                                   for such other relief as the Court deems equitable and just.

                                                                                 RELIEF

                                                1. The allegations of the Relief are denied.

                                                WHEREFORE, Defendants, RICHARD TOMPKINS, MICHAEL CARBONE,

                                   LOUIS DIGULIO, ANGES POLHEMUS, HARRY SMITH, VICTORIA GRAICHEN,

                                   KENNETH ROBERTS, CHARLES LASKY, AND SERGEANT LUIGI VIOLANTE, demand

                                   judgment dismissing the Complaint with prejudice, for reasonable attorney's fees, costs of suit, and

                                   for such other relief as the Court deems equitable and just.




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        Ten Allen Street
                                                                         SEPARATE DEFENSES
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                                                1.   The Complaint fails to state a cause of action upon which relief can be granted.




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                                               2.   Defendants were not negligent.

                                               3.   Injuries complained of are the result of plaintiff’s own negligence.

                                               4.   The accident and injuries alleged were caused or contributed to by the negligence of

                                   others over whom these Defendants have no control and for whom they had no legal liability.

                                               5.   While denying any negligence for the accident and injuries alleged, should the

                                   negligence of Plaintiffs be found to be not greater than that of Defendants, these Defendants demand

                                   damages be diminished by this percentage of negligence attributable to Plaintiff, pursuant to the

                                   Comparative Negligence Act, N.J.S.A. 2A:15-5.1 et seq.

                                               6.   This suit is barred by the Statute of Limitations.

                                               7.   The applicability of the provisions of N.J.S.A. 59:2-1 and N.J.S.A. 59:2-2, as to the

                                   immunities available to the public entity and/or public employee are asserted.

                                               8.   The applicability of the provisions of N.J.S.A. 59:2-3 and N.J.S.A. 59:3-2, as to the

                                   absence of liability from the exercise of judgment or discretion are asserted.

                                               9.   The applicability of the provisions of N.J.S.A. 59:2-4, N.J.S.A. 59:3-3 and N.J.S.A.

                                   59:3-4, as to the non-liability for any injury caused by adopting or failing to adopt a law or by failing

                                   to enforce a law are asserted.

                                               10. The applicability of the provisions of N.J.S.A. 59:3-5 as to the non-liability of a

                                   public employee for an injury caused by its adoption or failure to adopt any law or by its failure to

                                   enforce any law are asserted.

                                               11. The applicability of the provisions of N.J.S.A. 59:5-4 as to the failure to provide

                                   police protection service are asserted.
GILMORE & MONAHAN
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 COUNSELLORS AT LAW
Allen Street Professional Center
        Ten Allen Street
                                               12. The applicability of the provisions of N.J.S.A. 59:8-3 through N.J.S.A. 59:8-7
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Toms River, New Jersey 08754

                                   regarding failure to provide adequate notice of claim are asserted.




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                                                 13. The applicability of the provisions of N.J.S.A. 59:8-8 through N.J.S.A. 59:8-11

                                   regarding failure to timely file notice of claim are asserted.

                                                 14. The applicability of the provisions of N.J.S.A. 59:9-1 through N.J.S.A. 59:9-7

                                   concerning conditions of suit and judgment are asserted.

                                                 15. The accident and injuries alleged were caused or contributed to by the negligence of

                                   others over whom these defendants had no control and for whom they have no legal liability.

                                                 16. At all times mentioned in the Complaint any and all actions or omissions of the

                                   defendants relating in any way to plaintiff’s alleged damages involved decisions of the defendants

                                   within an area of non-actionable governmental discretion. By virtue of the said discretion, defendants

                                   are not liable to any party herein.

                                                 17. At all times defendants acted in good faith and accordingly are immune from any

                                   liability to the plaintiff.

                                                 18. These defendants did not act in any conspiracy against the plaintiff.

                                                 19. Plaintiff’s civil rights were not violated.

                                                 20. These defendants acted in good faith and their actions were based on reasonable

                                   cause.

                                                 21. At all times pertinent to the allegations contained within the plaintiff’s complaint,

                                   these defendants acted within the boundaries of their lawful authority.

                                                 22. These defendants, at no time pertinent to the allegations contained within plaintiff’s

                                   complaint, acted intentionally, knowingly or maliciously in such a manner so as to cause the injuries

                                   alleged by the plaintiff.
GILMORE & MONAHAN
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 COUNSELLORS AT LAW
Allen Street Professional Center
        Ten Allen Street
                                                 23. At all times pertinent to the allegations contained within plaintiff’s complaint, these
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                                   defendants acted reasonably and properly in the execution of their duties.




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                                                24. The plaintiff is bound by representation of his attorney and the Court that probable

                                   cause existed and, therefore, may not maintain this action.

                                                25. These defendants are entitled to qualified immunity.

                                                26. These defendants are entitled to absolute immunity.

                                                27. These defendants were acting in accordance with clearly established standards and

                                   accordingly are not liable to the plaintiff.

                                                28. The municipal defendants and all defendants acting in their official capacity are

                                   immune from punitive damages under the Civil Rights Act, 42 U.S.C. § 1983 and the New Jersey

                                   Tort Claims Act, N.J.S.A. 59:1-1 et. seq.

                                                29. The cause of action alleged by the plaintiff is not cognizable under the Civil Rights

                                   Act, 42 U.S.C. § 1983 and 1985.

                                                30. Plaintiff’s complaint is barred by the Doctrine of Collateral Estoppel.

                                                31. The Doctrine of Respondeat Superior does not apply in civil actions brought under

                                   42 U.S.C. § 1983.

                                                32. The complaint is insufficient and violates the Local Civil Rules governing the

                                   District of New Jersey.

                                                33. Plaintiff fails to state a Monell claim.

                                                34. Defendants hereby reserve the right to interpose such other defenses and objections

                                   as continuing discovery may disclose.



                                                             COUNTERCLAIM FOR ATTORNEYS' FEES
GILMORE & MONAHAN
  A Professional Corporation
 COUNSELLORS AT LAW
Allen Street Professional Center
        Ten Allen Street
                                                1.   The allegations contained in the Plaintiffs’ complaint and any amended complaint
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Toms River, New Jersey 08754

                                   are frivolous, groundless, and without merit as to the answering Defendants, RICHARD




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                                   TOMPKINS, MICHAEL CARBONE, LOUIS DIGULIO, ANGES POLHEMUS, HARRY

                                   SMITH, VICTORIA GRAICHEN, KENNETH ROBERTS, CHARLES LASKY, AND

                                   SERGEANT LUIGI VIOLANTE.

                                                2.   42 U.S.C. § 1988 provides for the allowance of reasonable attorneys' fees to the

                                   prevailing party in an action or proceeding arising out of an alleged violation of § 1981, 1982, 1983,

                                   1985, and 1986 of Title 42 of the United States Code.

                                                WHEREFORE, Defendants, RICHARD TOMPKINS, MICHAEL CARBONE,

                                   LOUIS DIGULIO, ANGES POLHEMUS, HARRY SMITH, VICTORIA GRAICHEN,

                                   KENNETH ROBERTS, CHARLES LASKY, AND SERGEANT LUIGI VIOLANTE, demand

                                   judgment dismissing the Complaint with prejudice, for reasonable attorney's fees, costs of suit, and

                                   for such other relief as the Court deems equitable and just.



                                                             LOCAL CIVIL RULE 11.2 CERTIFICATION

                                                The undersigned counsel hereby certifies that the within matter in controversy is not the

                                   subject of any other action pending in any court or of a pending arbitration or administrative

                                   proceeding and that, to the best of counsel’s knowledge, there is no other party who should be joined

                                   in this action.

                                                                      DEMAND FOR JURY TRIAL

                                                Demand is hereby made for a trial by jury as to all issues.



                                                                DESIGNATION OF TRIAL COUNSEL
GILMORE & MONAHAN
  A Professional Corporation
 COUNSELLORS AT LAW
Allen Street Professional Center
        Ten Allen Street
                                                Pursuant to the Rules of Court, Thomas E. Monahan, Esq., has been designated as trial
         P.O. Box 1540
Toms River, New Jersey 08754

                                   counsel in connection with this matter.




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                                                                      GILMORE & MONAHAN, P.A.
                                                                      Attorneys for Defendants, Richard Tompkins,
                                                                      Michael Carbone, Louis DiGulio, Anges
                                                                      Polhemus, Harry Smith, Victoria Graichen,
                                                                      Kenneth Roberts, Charles Lasky, and Sergeant
                                                                      Luigi Violante


                                                                      By /s/ Thomas E. Monahan
                                                                         THOMAS E. MONAHAN
                                   Date: December 20, 2018               For the Firm




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 COUNSELLORS AT LAW
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        Ten Allen Street
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Toms River, New Jersey 08754




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